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MDL
EXHIBIT 4

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IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF MARICOPA

ROBERT J. SWANSTON, individually and Case No.: CV 2002-004988
on behalf of himself and all others similarly
situated,
JOINT STATUS REPORT
Plaintiff,

Vv.

(Assigned to the Hon. Janet E. Barton)
TAP PHARMACEUTICAL PRODUCTS INC.

et al.,

Defendants.

Pursuant to the Court’s July 30, 2007 Minute Entry, the parties hereby submit this
Joint Status Report. The Court has scheduled a Status and Scheduling Conference for
October 15, 2007. For the reasons set forth below, Plaintiff requests that the Court vacate
the October 15 Conference and reset another conference as described below. Defendants do
not oppose Plaintiff's request.

Plaintiff has named in this action a number of defendants who are also defendants in
MDL 1456. Plaintiff intends to seek a stipulated dismissal of certain defendants who are

also defendants in MDL 1456, and anticipates that it may take approximately 30 days to

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negotiate, prepare and file the stipulated dismissal with this Court. Plaintiff believes that
scheduling any pre-trial and trial dates in this matter should await resolution of the
anticipated stipulated dismissal. Accordingly, Plaintiff requests that the Court vacate the
October 15 Conference. Plaintiff further requests that the Court allow approximately 30
days for the parties to file the stipulated dismissal and that, approximately two weeks after
the Court has addressed the anticipated stipulated dismissal (or at the Court’s earliest
convenience thereafter) the Court set another status conference with the remaining

defendants. Defendants do not oppose Plaintiff's requests.

RESPECTFULLY SUBMITTED this 12 day of October, 2007

By s/Jorge Franco By_s/Dawn L. Dauphine
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CERTIFICATE OF MAILING

I hereby certify that the foregoing JOINT STATUS REPORT was duly filed and
served this date, October 12", 2007, on all parties, via Lexis/Nexis.

s/K. Cecil
3778-0

